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                                             August 18, 2023


 VIA ECF

 Hon. Gary R. Brown, U.S.D.J.
 United States District Court
 Eastern District of New York
 100 Federal Plaza
 Central Islip, NY 11722

        Re:     Dawn White v. Intercontinental Capital Group, et al.
                Docket No. 22-cv-4080 (GRB)(LGD)

 Dear Judge Brown:

         We represent plaintiff in the above-referenced case, and we write in response to the
 Court’s Order of August 11, 2023. As Your Honor is aware, defendant is in default in this matter,
 and we previously represented to the Court in a status report that we intended to make a motion
 for default judgment, and were awaiting our client’s signature on a supporting declaration so
 that we could file that motion.

        We had anticipated receiving that signature in short order when we previously wrote to
 the Court. However, it took us a bit longer to get the declaration into final form and get it back
 from our client than expected, and, unfortunately, by the time we did so, our motion simply fell
 through the cracks in the press of other business at our firm. We certainly did not intend to let
 this matter slide, and our client is still interested in vigorously prosecuting her case.

          We recognize that this is not a good excuse for our tardiness in filing our motion, and that
 this case has already languished longer than justified, with the only mitigating factor being that
 because defendant has not appeared, it has not been prejudiced by the delay. Nevertheless, our
 client has a meritorious case, and we respectfully beg the court’s indulgence to give us one week
 to file her motion.

       We thank the Court for its attention to this matter and are available at Your Honor’s
 convenience should the Court have any questions regarding the foregoing.

                                               Respectfully submitted,

                                               David Stein
